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                                  UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF PENNSYLVANIA


RICHARD A. GORMAN,                                            Civil Action No. 2:20-cv-04759-JCJ

                                   Plaintiff,

                    -against-                                 MOTION TO DISMISS

ILLYA SHPETRIK,

                                   Defendant.



         Defendant Illya Shpetrik, (“Defendant”) by and through his undersigned counsel,

respectfully moves the Court to dismiss this lawsuit and all counts against him under Rules 8 and

12(b)(2), 12(b)(5) and 12(b)(6) of the Federal Rules of Civil Procedure; and grant all such further

relief as the Court may deem just and proper. Defendant concurrently files herewith a

Memorandum of Law and a Declaration in support of this Motion, and incorporates both herein.

Dated:           April 26, 2021
                                                By: /s/ Matthew Faranda-Diedrich
                                                Matthew Faranda-Diedrich, Esquire
                                                ROYER COOPER COHEN BRAUNFELD LLC
                                                PA Id. No. 203541
                                                Two Logan Square
                                                100 N. 18th St., Suite 710
                                                Philadelphia, PA 19103
                                                Telephone 267-546-0275; Fax 484-362-2630
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                                                By: /s/ Matthew J. Press
                                                Matthew J. Press, Esquire*
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                                                Counsel to Defendant Illya Shpetrik



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                      IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA
                                               :
RICHARD A. GORMAN,                             :
                                               :
                 Plaintiff,                    :
                                               :
v.                                             :
                                               : Case No.: 2:20-cv-04759-JCJ
ILYA SHPETRIK,                                 :
                                               :
                                               :
                 Defendant.                    :
                                               :
                                               :


         I hereby certify that a true and correct copy of the foregoing Motion to Dismiss First

Amended Complaint and accompany documents has been filed electronically and is available for

viewing and downloading from the ECF system to all counsel of record.




                                                   /s/ Matthew Faranda-Diedrich
Dated: April 26, 2021                              Matthew Faranda-Diedrich, Esquire




{00988991.v1 }
